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                                                                            April 12, 2023
VIA ECF

Hon. Ramon E. Reyes, Jr.
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

Re:    City of New York v. Old Dominion Tobacco Company, Inc (Case No. 2:20-cv-05965)

Dear Judge Reyes:

         This firm represents defendant Atlantic Dominion in the above captioned matter. I write
briefly in update to our letter dated April 11, 2023.

       Counsel for the City has confirmed that it consents to the requested extension of time in
which to file the joint status report. The City has indicated that it intends to respond to Atlantic
Dominion’s letters and produce additional documents within the next two weeks. The Parties are
currently discussing the expected volume of the response and production and the amount of time
necessary to review, meet and confer prior to filing the joint status report. We will update the
Court as soon as possible as to the specific amount of time the Parties anticipate is necessary.

       We appreciate the Court’s ongoing consideration.



                                                             Sincerely,



                                                             Mary Grace W. Metcalfe



cc:    counsel of record
